CaSe ZZQBJCWQOI'BQNJP*MNDDGUWUWF’®Z:OLFH€UWT@WGB‘“P&G€ 1 Of 2 PaCt€|D 30

 

1. Ctlt.mts'r./I)tv. C()mz
TNW

 

z. PF.RSON REPRF_SENTED
Cra Wford, Sylvester

V()UCHE.R NL`MBER

 

 

3. MAG, DKT.fl)EF. NUMBE,R

4. DlST. DKT./DEF. NUMBER

2105-020]39~001

5. AI'PEALS DK'|`.¢’DEF. NUMBER

‘~-OT»“H-*-WMH)Q: m

 

7. IN CASE/MATTER OF
U.S. v. Crawi`ord

(Case .\'arne)

 

s, PAYMENT cATEt;oRY
Felony

9. TYPF. PERSON REPRESENTED
Adult Dei`endant

 

 

`"'Q§nii“i§i:"§§§“iiiiz: 3

\

 

ll. OFFENSE[S) CH ARGED (Cite U.S. Cude, Titie & Scction)

ifmore than one uii`eltse,list [up to tive) major ntTmses charged, according to severity ol'olfetlse.

i) 18 922G. F -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH INTERSTF)*J\T`EJ_COMME`_R:§E

   

 

 

     

."l w »~ ~`#U¢~=J
12. AT'I'ORNEY'S NAMF. o'ar_=mame,to.l..cas¢Nlm¢.imiud.'ng=,nyturr.,; 13. COURTORoER '""" ' '…' L»UUi'ii
AND MAlLING ADDRF.SS ® 0 Appointing Counse| i:\ C Co-Co\.l sel;j i,', .{-`: ' !:}L.HQ
LAURE.NZI, EUGENE m F Subs l"or Fet:lera| Defender i:i R Subs !~`or Retainetl Attn`rne_v § § |EV
50 N F[‘()nf S(]'eet i:i P SuhsFurPanelAttnrney U Y Standh_vCounse|
Si,li[€ 800 l'riorAttorney's Name:

MEMPHIS TN 38103

"l`clepl\one Numl)er:

 

Appoitttrnent Dtlte‘. ___,,M____
Because the above-named person represented has testit':ed under oath ur has
tlterwise satisfied this court that he or she (i} is financially unable to employ cmnscl and
(2) does not wish to waive counse|,altd because the interests ofjustice so requirc,the

 

14. N.-\ME AND MA]LING ADDRESS UF LAW FIRM (nn|.y provide per instructions)

Allen, Godwin, Morris, Laurcnzi P.C.

One Mcmphis Piacc
200 Jefferson Avenue
Suite 400

Memphis TN 38103

attorney whose name appears in item 12 is appointed lo represent this person itt this case,

§ /WML:Y @Mw

Sigltature ol' Presiding Jtldicia| Oliieer or By Urder ofthc Court

il€/')A/?(lt']$

note ul'Order Nunc i’ro Ttme [)nte
Repa_vment or partial repayment ordered from tlte person represented for this service at
time of appointmem. m YES

 

 

 

 

Cr$sl`M_FoR smitc`cs ANn memo

 

   

11 gj.--'I¢joR*Co‘iFR*r_x‘UsE oNL`Y

»

 

 

C,\'l`EGORlES (Attach itemization ofscrviees with dates]

IIOURS
CLAlMED

TOTAL MATHF|'ECH
AMOUNT A.D.]USTED
HOURS

l\“lA'I`HfI`ECH
AD.IUSTED
AMOUNT

.»‘-\DDITIONAI.

cLAIMED “E"‘E“'

 

a. Arraignment and/or Pica

 

b. Bai| and Detention Hearings

 

 

 

c. Motion Hearings

 

 

 

d. Trial

 

 

 

e. Sentencing Hearings

 

 

 

f. Revocation Hearings

 

 

 

-‘-\=;{_} ="‘-

g. Appca|s Court

 

 

 

h. Other (Speeit'y on additional sheets)

 

 

 

(Rate per hour = $

)

TOTALS:

 

a. interviews and Confcrences

 

..;;c

b. Obtaining and reviewing records

 

c. hegai rese arch and brief writing

 

d. Travei time

 

C. ll'W€SiigEtfi\' E and thet" Wt}l'k lSpecify on additional sheets]

 

 

 

 

 

 

 

 

 

-»-t=:r'j -»:

(Rate per hour = $

)

TOTALS:

 

iT. Travel Expenscs

(iodging, parking. nteals, mileage, etc.)

 

18.

 

Other Expenses

(other than expert, transcripts, ett:.)

 

 

 
 

caa§§r@rm(®£mmomm§m) .

 

 

 

 

 

 

 

 

 

. CF.RTEF!CA'[ION OF ATTORNEY/PAYEE FOR THE PERIOD 0 F SERVlCE

li]. APPOINTMENT TERM[='\'AT[ON DATE

 

 

 

19 21. CASE DlSPO SlTlON
' . N
FROM .ro lF OTHER THAi\ C.»\SF COMPLETIO
12. CLAlM STATUS \:i Fina| Pttyment [] Inten'm Payment Nurnber I:] S\lpp|ementst| Payment
Have you previously applied tn the court for compensation antlior remim'bursement t`nr this case'.' i:l YES 13 No li`yes‘ were you paid? ij YES E\ NO

Ottter than from the court, have _\'ou‘ or toyour knowledge his anyone else. received payment (eornpensation ur anything or value) from any other source ill connection with this
i:i YES ifyes, give details on additional sheecs.

representation?

ENO

l swear or alTlrm the truth or correctness ofthe above statements

Signatun: oI'Atturney:

i)nte:

 

 

 

 
 

  

negotiate soo ramNT.-'-'Cooa_rese ,__oth;Y

 

 
 

 

 

 

 

 

 

 

23. [N COUR']" COMP; n 24-. OUT Oli` COURT COMP. 25. TRAVEL EXPENSES 26. OTHE.R EXPiT.NSES Z‘T. TD'|`AL AMT. APPR.' CERT
ZS. SIGNATURE OF THE PRES[D|NG JUDIC[AL OFF|CER DATE 281 .|UDGE f MAG. .]i|DGE (`ODE
2.9. [N COURT COMI‘. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPR()VF,D

34. SlGNATURE OF CHlEF JUDGE, C()URT 0 DATE 34:1. JUDGE CODE

F APF EALS (GR DELEGATE} Fsyl!ten\
approved ill excess ofthe statutory threshold amount.

 

 

 

 

This document entered nn the docket aheet in compliance

With Ruie 55 and/or 32(b) FRCrP on

» /-05

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of thc document docketed as number 22 in
case 2:05-CR-20139 Was distributed by faX, mail, or direct printing on
July ], 2005 to thc parties listcd.

 

 

Eugenc A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Mcmphis7 TN 38103

Stephcn P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Mcmphis7 TN 38103

Honorablc J on McCalla
US DISTRICT COURT

